 

IN THE UNITED STATES DISTRICT COURT — Gg 00

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Full name, date of birth, identification =, address of, petilicner) ~

 
 
  

       
     

 

 

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(Full name and address of respondent)

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—-———_~" Defendant(s

 

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- T.- Previous Lawsuits - ce on °
___*. A. Have you filed other cases in state or federal court dealing with the same facts as in this.
___case or against the same defendants?.-_—_——- - --= ——-- Ce ee

_

 

 
 
 

YES: O-- NO- Ww. oo lee ees we Sade ee

Bz If you answered YES, describe that case(s) in the spaces below.

1. Parties to the other case(s):

 

 
 

Plaintiff:
Defendant(s):

ourt name the district; if a state court name the city or county):

2. Court (ifa federal c

    

 

 

 

 

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3. Case No.:

4. Date filed:

 

: . 5. Name of judge that handled the case: _
' 6.° Disposition (won, dismissed, still pending, on appeal): _ _
_7. Date of Disposition:

~ administrative Proceedings — —

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1. if you answered YES: : ,

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cl OS What was the result? “"~ a ee ee

NO to either of the questions above, explain why:

LL b Did you appeal?

ves U

2. Ifyou answered

     

Ill. Statement of Claim
(Briefly state the facts of your case.

Include dates, times, and places. Describe what each _
defendant did or how he/she is involved. If you are making a number of related claims, ©
number and explain each claim in a separate paragraph.)

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